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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF DELAWARE



  GIGI JORDAN,                                  :
                         Plaintiff,             :
                                                :
                         v.                     :              Civil Action
                                                :              No. 14-cv-1485
                                                :
  RAYMOND A. MIRRA, et al.                      :
                 Defendants.                    :


  McHUGH, J.                                                           NOVEMBER 28, 2017

                                          MEMORANDUM

          This is a diversity action referred to Magistrate Judge Sherry R. Fallon for a Report and

  Recommendation (“R & R”) on a Motion to Dismiss. Judge Fallon has prepared a

  comprehensive and well-reasoned report (D.I. 199) and for the reasons that follow I will adopt it

  in its entirety.

          The vast majority of Judge Fallon’s conclusions are not challenged, and are therefore

  reviewed only for clear error. 28 U.S.C. § 636(b)(1). I find none.

          My endorsement includes Judge Fallon’s conclusions that:

      1. the Mutual General Release Document (D.I. 200-2) [hereinafter “the Release”], if
         accepted as valid, bars all claims except Plaintiff Gigi Jordan’s breach of warranty claim
         (Count VII) and her claim for declaratory relief (Count X);

      2. the statute of limitations does not bar Plaintiff’s breach of warranty claim; but

      3. the surviving warranty claim cannot serve as a legal predicate for her declaratory
         judgment claim.

  My endorsement further extends to Judge Fallon’s alternative bases for her conclusion:

      4. that, even if the Release were deemed inapplicable, New York’s six-year statute of

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             limitations bars Plaintiff’s breach of contract on promissory notes claim (Count I), much
             of her accounting claim (Count II) as to all Defendants, and her fraudulent inducement
             claim (Count V) as to Defendants Troilo, Tropiano, and Kolleda;

      5. New York’s three-year statute of limitations bars Plaintiff’s common law fraud claims
         (Count III) as to Defendant’s Troilo, Kolleda, Kovinsky, and Tropiano, her breach of
         fiduciary duty claim (Count VI) as to Defendants Mirra, Troilo, and Kolleda, and her
         unjust enrichment claim (Count VIII) as to all Defendants; and

      6. her aiding and abetting fraud claim (Count IV) is time-barred under either statute of
         limitations.

             Finally, as an additional alternative basis for dismissal of Plaintiff’s common law fraud

  claim based on alleged forgeries, Judge Fallon concluded that it was insufficiently pleaded

  because only third parties relied on the purportedly forged documents. As the controlling

  standard, Judge Fallon properly applied Pasternack v. Lab Corp., 2014 WL 4832299 (S.D.N.Y.

  2014). 1

             Turning to Plaintiff’s objections, Defendants rightly point out that those objections

  principally rely on arguments that were not before Judge Fallon, and Plaintiff makes no effort to

  show good cause (D.I. 200-2). This is contrary to this Court’s Standing Order for Objections,

  and the Magistrate’s Act, and could therefore be considered waived. 2 I will nonetheless address

  the merits.



  1
    Pasternack actually resolved a conflict between federal and state decisions, as the Second Circuit
  certified the issue to the New York Court of Appeals, which definitively resolved the issue. See
  Pasternack v. Lab. Corp. of Am. Holdings, 839 F.3d 151, 152 (2d Cir. 2016), and Pasternack v. Lab.
  Corp. of Am. Holdings, 27 N.Y.3d 817, 827, 59 N.E.3d 485, 491, reargument denied, 28 N.Y.3d 956, 60
  N.E.3d 421 (2016) (“We hold that under New York law, such third-party reliance does not satisfy the
  reliance element of a fraud claim.”).
  2
    Indeed, “[t]he purpose of the Magistrate’s Act would be frustrated if we were to require a district court
  to consider a claim presented for the first time after the party has fully litigated his claims before the
  magistrate judge and found that they were unsuccessful.” See Turner v. Pennsylvania Bd. of Prob. &
  Parole, No. CIV.A. 13-33, 2013 WL 5970338, at *1 (W.D. Pa. Nov. 8, 2013) (quoting Bolar v. Blodgett,
  29 F.3d 630 (Table), 1994 WL 374194, *1 (9th Cir.1994)); Masimo Corp. v. Philips Elec. N. Am.
  Corp., 62 F. Supp. 3d 368, 377 (D. Del. 2014) (“[I]t is new arguments that are problematic.”) (citing
  Standing Order ¶ 5).

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          Plaintiff’s objections are threefold: that it was improper (a) to dismiss all her claims

  except for breach of warranty on the basis of the Release, because the Release does not cover her

  fraud and fraudulent inducement claims (Counts III and V, respectively); (b) to dismiss her fraud

  and fraudulent inducement claims against defendant Mirra for lack of justifiable reliance because

  justifiable reliance cannot be determined at the pleading stage; and (c) to dismiss her fraud and

  fraudulent inducement claims, otherwise subject to a six-year statute of limitations, as incidental

  to her conversion claims, and thereby subject to a three-year statute of limitations.

         First, Plaintiff’s argument that her fraudulent inducement claims are beyond the scope of

  the Release fails because the principal case upon which she relies, E.I. DuPont de Nemours &

  Co. v. Florida Evergreen Foliage, 744 A.2d 457, 461 (Del. 1999), is limited to situations where

  the fraud alleged is separate from and not barred by the terms of the agreement. Here, any fraud

  claim advanced under such a theory would be barred by paragraph 6 of the Release, which states,

  in sufficiently specific language: “[n]either [party] will assert any Claims against the other . . .

  arising from or relating to negotiation, execution, and delivery of [this] Agreement.” See D.I.

  200-2, ¶ 6.

         As to Plaintiff’s second objection about reliance, I agree with Judge Fallon that any

  misrepresentations would have been obvious, and Plaintiff made no reasonable inquiry. R & R

  at 40. Plaintiff’s reliance argument ultimately calls this Court to take certain language in the

  Agreement out of context. Paragraph 4 of the Release states in part, “[t]he Parties deny any

  wrongdoing in connection with these matters,” D.I. 200-2, ¶ 4, leading Plaintiff to argue that the

  “express terms and conditions” of the Release create a warranty under which she can sue. In

  context, however, paragraph 4 conveys the exact opposite of what Plaintiff argues, because the

  preceding sentence states: “Each Party hereby agrees that this Release Agreement shall not be



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  construed as an admission by any Party.” Id. Defendants persuasively argue that accepting

  Plaintiff’s interpretation of the Release would convert documents meant to end litigation into

  documents that foment litigation. See Seven Investments, LLC v. AD Capital, LLC, 32 A.3d 391,

  400 (Del. Ch. 2011) (concluding that the DuPont decision does not prevent parties from

  executing general releases that extinguish claims for fraud, including claims for fraud in the

  inducement, particularly where the party granting the release is on notice of potential fraud

  claims).

          Nor do I find error in Judge Fallon’s refusal to embrace a lower standard of reliance. 3

  The non-precedential Second Circuit case on which Plaintiff relies applied California law, L-3

  Communications Corp. v, OSI Systems, Inc., 283 F. App’x 830 (2d Cir. 2008), and the New York

  cases involved an agreement between an attorney and clients who were not represented by

  independent counsel in their dealings with said attorney, Swift v. Ki Young Choe, 242 A.D. 2d

  188 (N.Y. App. Div 1998). Neither is the case here.

          Finally, I am persuaded that Judge Fallon properly found Plaintiff’s common law fraud

  claims incidental to her conversion claims, and therefore subject to a three-year statute of

  limitations that renders them untimely. Plaintiff’s objection to this conclusion relies on cases

  with significantly different facts, where victims were not represented by independent counsel,

  and pleaded underlying misrepresentations of a much different nature. In those cases, the

  plaintiffs pleaded all of the elements of an independent fraud claim. Plaintiff here did not. Thus,

  the statute of limitations for conversion properly applies.

          In sum, I accept the R & R in whole. Accordingly, Defendants’ Motions to Dismiss are


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    Plaintiff, a sophisticated party represented by independent counsel, needed only to review a three-page
  document before signing. Plaintiff’s footnote objection to Judge Fallon’s refusal to apply equitable
  tolling also fails for the same reason: Plaintiff could have discovered the alleged misrepresentations or
  omissions if she exercised due diligence. R & R at 36–7.

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  GRANTED. Plaintiff’s Amended Complaint will be DISMISSED with prejudice as to Counts I

  through VI and VIII through X. Plaintiff may proceed on Count VII only.




                                                          /s/ Gerald Austin McHugh
                                                    United States District Judge




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